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UNITED STATES DISTRICT COURT |

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EASTERN DISTRICT OF VIRGINIA JUN 26 2993

Norfolk Division

Vv. CRIMINAL NO. 2:23cr44
DENZEL AKEEM LOFTIN,

Defendant.

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

The Defendant, by consent, has appeared before the undersigned United States
Magistrate Judge pursuant to Federal Rule of Criminal Procedure 11, and referral from a United
States District Judge and has entered a plea of guilty to Count Two of the indictment. After
cautioning and examining the Defendant under oath concerning each of the subjects mentioned
in Rule 11, the undersigned determined that the Defendant is competent, and fully informed of
the nature of the charges, including the prescribed penalties. The inquiry, as set forth in the
record, confirmed that Defendant’s guilty plea was knowledgeable and voluntary, not the result
of force, threats, or promises other than the Government’s representations in any written Plea
Agreement. The Statement of Facts to which Defendant attested confirms the offense charged is
supported by an independent basis in fact establishing each of the essential elements of such
offense. Accordingly, the undersigned recommends that the plea of guilty be accepted.

NOTICE
The Defendant is advised that he/she may file specific written objections to this Report

and Recommendation with the court within fourteen (14) days of the date noted below. If

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objections are noted, the party objecting must promptly arrange for the transcription of the
relevant record and file it forthwith with the court for its use in any review. Failure to object in
accordance with this notice, including the requirement for preparation of a transcription of the
relevant portions of the record, will constitute a waiver of any right to de novo review of the
matter and may result in adoption of the recommendation, including acceptance of the plea as
recommended by the report and adjudication of guilt based on the plea.

The Clerk is directed to deliver a copy of this Report and Recommendation to counsel for

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DOUGLAS E. MILLER,
UNITED STATES MAGISTRATE JUDGE

the United States and to counsel for the Defendant.

Norfolk, Virginia

June 26, 2023
